             Case: 2:22-cr-00043-ALM Doc #: 1 Filed: 02/11/22 Page: 1 of 3 PAGEID #: 1


  AO 91 (Rev 11/11) CnininaIComplainl(mo<lined by USAO for telephone or oiber reliable decironic n>eans)


                                        United States District Court
                                                                         for the

                                                           Southern District of Ohio

                    United States of America
                                  V.

                                                                                     Case No
                      John Kenneth HECHT




                             De/endanKs)


CRIMINAL COMPLAINT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

            I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
  On or about the date(s) of                    February 4, 2022                   in the county of                                  the
       Southern           District of              _Ohio               ,the defendant(s) violated:

               Code Secdon                                                              Offense Description
            16 use 922(g)(1)                                                  Knowingly Possess a Firearm by a Convicted Feion




            This criminal complaint Is based on these facts:
  SEE ATTACHED




            fif Continued on the attached sheet.


                                                                                                           Ccmplainant's signature

                                                                                                           S. Chappejj
                                                                                                            Pritti


  Swom to before me and signed in my presence.^)! P

  Date:             t'

  City and state:                          Columbus Ohio
Case: 2:22-cr-00043-ALM Doc #: 1 Filed: 02/11/22 Page: 2 of 3 PAGEID #: 2
Case: 2:22-cr-00043-ALM Doc #: 1 Filed: 02/11/22 Page: 3 of 3 PAGEID #: 3
